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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


                                                 )
 MARCIANN GRZADZINSKI,                           )
                                                 )
                Plaintiff,                       )
                                                 )
        v.                                       )     Civil Action No. 20-1411 (JEB)
                                                 )
 MERRICK GARLAND, in his official                )
 capacity as Attorney General of the United      )
 States,                                         )
                                                 )
                Defendant.                       )


DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT

       Plaintiff is a former employee of the Federal Bureau of Investigation (“FBI”), who alleges

she was discriminated against based on her sex and age (born in 1961) when FBI General Counsel

James Baker: (1) failed to select her as Deputy General Counsel of the National Security Law

Branch in the FBI’s Office of General Counsel (“OGC”) but instead recommended her to be

Deputy General Counsel of an equivalent branch (the Investigative Law and Legal Training

Branch) within the same office, a position that she accepted; (2) allegedly “demoted” her from her

position as Deputy General Counsel of OGC’s Investigative Law and Legal Training Branch and

assigned her to a Section Chief position within OGC; and (3) removed her from the Senior

Executive Service (“SES”) and placed her back into a GS-15 position based on a failure to

satisfactorily complete her one-year SES probationary period. (Am. Compl. ¶ 2) Defendant has

moved for summary judgment on each of these claims.

       In opposition, Plaintiff has largely conceded that there is no genuine dispute of material

fact underlying Defendant’s motion and has failed to rebut as pretext the legitimate, non-
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discriminatory reasons proffered by the Defendant for the challenged employment actions.

Instead, Plaintiff tries to raise an inference of pretext based on the alleged perceptions regarding

Mr. Baker’s conduct toward women that either lack support in the record or are too vague (such

as perceptions of “body language”) to constitute competent evidence. Consequently, Plaintiff has

failed to establish a genuine dispute of material fact that would preclude summary judgment in

Defendant’s favor.

        Defendant addresses below Plaintiff’s limited arguments in opposition with respect to each

of the three employment actions at issue, and otherwise refers the Court to the evidence and

argument set forth in Defendant’s motion for summary judgment.

I.      Defendant Is Entitled To Summary Judgment On The Non-Selection Claim

        In late 2014, Plaintiff applied for two equivalent Deputy General Counsel positions within

the FBI’s Office of General Counsel: Deputy General Counsel for the Investigative Law and Legal

Training Branch and Deputy General Counsel for the National Security Law Branch. (Pl. Resp.

to Def. SOF ¶ 10) Plaintiff was interviewed for both positions (Pl. Resp. to Def. SOF ¶¶ 14-15) 1

and was selected for the Investigative Law and Legal Training Branch position in November 2014

because she was considered to be a better fit for that position. (Pl. Resp. to Def. SOF ¶¶, 15 20)

Plaintiff was notified on January 12, 2015, that the vacancy announcement for the National

Security Law Branch position had been cancelled (Pl. Resp. to Def. SOF ¶ 26), and, shortly

thereafter, the agency initiated a direct hire procedure to select Trisha Anderson (an existing SES)



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        Although Plaintiff disputes paragraph 14 of Defendant’s Statement of Facts, Plaintiff has
offered no record evidence that these executives did not intend that interview to encompass both
positions. Instead, Plaintiff cites to an email stating that Plaintiff had been selected for an interview
for the National Security Law Branch position (Ex. 3 to Opp.), but nothing in that email foreclosed
the executives from using that interview to evaluate Plaintiff for both positions. Indeed, in
response to a separate paragraph of Defendant’s Statement, Plaintiff acknowledges that she was
interviewed for both positions. (Pl. Resp. to Def. SOF ¶ 15)
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for that position. (Pl. Resp. to Def. SOF ¶¶ 21, 26) Plaintiff alleges that her non-selection to the

National Security Law Branch position was the result of discrimination based on her sex and age.

Plaintiff’s opposition to Defendant’s motion for summary judgment on this claim fails for the

reasons stated below.

       A.      Plaintiff’s Non-Selection Claim is Untimely

       By January 12, 2015, Plaintiff knew she had been selected to the Investigative Law and

Legal Training Branch position and that the vacancy announcement for the National Security Law

Branch position had been cancelled. Thus, to the extent she challenges her non-selection to the

latter position as discriminatory, the 45-day period to contact an EEO counselor began to run as of

January 12, 2015. See, e.g., Delaware State College v. Ricks, 449 U.S. 250, 258 (1980) (holding

that the EEOC charging period ran from “the time the tenure decision was made and communicated

to Ricks”).

       The EEOC’s regulations provide that “aggrieved” employees or applicants for employment

who allege they have been discriminated against must first consult an agency EEO counselor

before filing a complaint of discrimination and must do so within 45 days of the “matter alleged

to be discriminatory or, in the case of personnel action, within 45 days of the effective date of the

action.” 29 C.F.R. § 1614.105(a)(1). Plaintiff did not initiate EEO contact until June 24, 2015 (Pl.

Resp. to Def. SOF ¶ 31), far beyond the 45-day period from the date she learned of her non-

selection, which is the operative date for the running of the 45-day period.

       Plaintiff’s attempt to frame the timeliness of her EEO contact around the date of her

knowledge of Ms. Anderson’s selection to the position, as opposed to Plaintiff’s knowledge of her

non-selection, likewise fails.    First, in this context, Ms. Anderson’s selection is properly

understood as an “effect” of the alleged discriminatory act being challenged (Plaintiff’s non-



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selection), which does not result in the commencement of a new 45-day period. Ricks, 449 U.S.

at 258 (“the only alleged discrimination occurred -- and the filing limitations periods therefore

commenced -- at the time the tenure decision was made and communicated to Ricks . . . even

though one of the effects of the denial of tenure -- the eventual loss of a teaching position -- did

not occur until later”); Ledbetter v. Goodyear Tire & Rubber Co., 550 U.S. 618, 628 (2007)

(same). 2

        Second, Plaintiff admits that she learned of Ms. Anderson’s selection on May 6, 2015,

which is still over 45 days from her initial EEO contact. (Pl. Resp. to Def. SOF ¶¶ 30-31) Her

argument that “whether Ms. Anderson or Ms. Grzadzinski would actually encumber the position

was unclear until the June 2015 reorganization was finalized” misstates the issue and the record.

(Opp. at 23) The FBI formally announced Ms. Anderson’s selection on May 5, 2015 via an office-

wide email that Plaintiff received no later than May 6, 2015. (ECF No. 26-3 at ECF pp. 19-20)

There was no ambiguity in that announcement as to Ms. Anderson’s selection to the National

Security Law Branch position. (Id.) Thus, as of May 6, 2015, Plaintiff knew both that she had not

obtained the position (a fact she knew several months earlier) and that someone else had been

selected for the position. The 45-day time period thus began to run no later than May 6, 2015.

        In arguing otherwise, Plaintiff is attempting to conflate her distinct “demotion” claim with

her non-selection claim. She speculates that Ms. Anderson’s selection to the National Security

Law Branch position was somehow placed in doubt when Plaintiff was notified on May 22, 2015

that her position (Deputy General Counsel, Investigative Law and Legal Training Branch position)

would be eliminated, and appears to argue that this somehow tolled the 45-day period that began


2
       Although Ledbetter was abrogated by statute in the context of equal pay act claims, it still
remains precedent in other contexts. See, e.g., Hamer v. City of Trinidad, 924 F.3d 1093, 1105
(10th Cir. 2019).

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to run on May 6, 2015, because Plaintiff allegedly believed that she somehow might have assumed

Ms. Anderson’s position. 3 (Opp. at 23) Plaintiff’s alleged subjective belief, however, was entirely

speculative and, in the face of the unequivocal May 6, 2015 office-wide announcement of Ms.

Anderson’s hiring that had not been rescinded, does not provide a basis for tolling the running of

the 45-day time period. Galloway v. Witt, 185 F. Supp. 3d 130, 134 (D.D.C. 2016) (setting forth

high burden for equitable tolling). Defendant acknowledges that, following the elimination of her

position, Plaintiff also contends that she was discriminatorily “demoted” to a Section Chief

position instead of being placed into one of the three remaining Deputy General Counsel positions,

but that is a separate claim from the non-selection claim, and cannot be used to revive that untimely

claim. 4

           B.     Plaintiff Has Failed To Adduce Evidence Of Discrimination

           Plaintiff was selected for one of the two equivalent Deputy General Counsel positions to

which she applied, and thus cannot establish that her non-selection to the National Security Law

Branch position was “adverse” as required to state a claim. Her sole response to this argument is

to again conflate her demotion claim with this non-selection claim by arguing that “the

reorganization happened before Ms. Anderson actually sat in the [National Security Law Branch]

DGC chair, so it had been open for Ms. Grzadzinski to take if Mr. Baker had so chosen.” (Opp.

at 24) Again, the National Security Law Branch position was not “open” as of June 2015. (ECF


3
        Plaintiff does not expressly invoke equitable tolling in her opposition but that appears to
be the essence of her argument as the 45-day period would have begun to run at the latest upon
Plaintiff’s knowledge on May 6, 2015 of Ms. Anderson’s selection. Plaintiff’s argument is thus
that a subsequent development (being told on May 22, 2015 that her own position would be
eliminated) interrupted the running of the 45-day period, which is effectively a tolling argument.
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       Plaintiff also states that it is “instructive” that the Administrative Judge did not dismiss the
claim for untimeliness. (Opp. at 23) To be accurate, the Administrative Judge found Plaintiff’s
timeliness argument “dubious” but stated she preferred to resolve the claim on substantive rather
than procedural grounds. (Administrative Judge Opinion at 12) (attached hereto)
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No. 26-2, Baker Decl. ¶ 6) To the contrary, the record establishes that Ms. Anderson was selected

for that position in February 2015 and that her selection was announced in an unequivocal office-

wide email in early May 2015. (Pl. Resp. to Def. SOF ¶¶ 28-30) While Plaintiff may contend

that, as a result of the reorganization, she experienced an adverse employment action (her alleged

“demotion”), that is a distinct decision from the decision not to select Plaintiff for the National

Security Law Branch position when she had applied in late 2014. As to that non-selection decision,

Plaintiff has failed to establish that she suffered an adverse employment action.

        Plaintiff also has failed to adduce any evidence that her selection to the Investigative Law

and Legal Training Branch position instead of the National Security Law Branch position was

motivated by age or gender discrimination. Contrary to Plaintiff’s assertion (Opp. at 25), it is fatal

to Plaintiff’s gender claim that a female (Ms. Anderson) was selected to the National Security Law

Branch position. Cones v. Shalala, 199 F.3d 512, 517 (D.C. Cir. 2000). As explained in Cones,

the “relevant inquiry” in a non-promotion case is “was the plaintiff rejected for the position and a

person outside of his protected class selected.” Id. As the Court further explained, “[i]t matters

not whether the person ultimately selected was promoted to that position, hired from a pool of

outside candidates, or, as in this case, laterally transferred.” Id.

        Ms. Anderson’s selection also is fatal to Plaintiff’s “gender-plus-age” theory to the extent

the Court were to recognize such a claim. “‘[R]egardless of the label given to [a sex-plus] claim,

the simple question posed by sex discrimination suits is whether the employer took an adverse

employment action at least in part because of an employee’s sex.’” Frappied v. Affinity Gaming

Black Hawk, LLC, 966 F.3d 1038, 1048 (10th Cir. 2020). Thus, to state a claim under a sex-plus-

age theory, Plaintiff “must show unfavorable treatment relative to an employee of the opposite sex

who also shares the ‘plus’ characteristic,” and, for a female sex-plus-age plaintiff, “the relevant



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comparator would be an older man.” Id. Because a younger female (Ms. Anderson) received the

position, Plaintiff has failed to state a sex-plus-age claim.

         Although Ms. Anderson’s selection is not dispositive of Plaintiff’s age discrimination

claim, that claim (and any other claim of discrimination) fails for lack of any evidence of pretext.

Plaintiff cites to “procedural irregularities, shifting explanations for why Defendant did not select

Ms. Grzadzinski, and Ms. Grzadzinski’s far superior qualifications to that of the selectee” (Opp.

at 26), but none of these arguments has merit.

         First, Plaintiff does not actually identify any “procedural irregularities” in connection with

the selection decision. To the extent she contends that the use of the direct hire procedure was a

“procedural irregularity,” Plaintiff has failed to adduce any evidence that that hiring procedure was

somehow improper and, to the contrary, concedes that Ms. Anderson, as an existing SES, was

eligible to be hired under that procedure. (Pl. Resp. to Def. SOF ¶ 25) Ultimately, Plaintiff has

failed to identify any deviation from procedure “so irregular and inconsistent” as to make the

challenged employment action “unworthy of belief.” Porter v. Shah, 606 F.3d 809, 816 (D.C. Cir.

2010).

         Second, as to the alleged “shifting explanations,” Plaintiff misstates the record by

suggesting that the reason for cancelling the vacancy for the National Security Law Branch

position (an alleged lack of qualified candidates) cannot be reconciled with Plaintiff having been

interviewed as a qualified candidate for that position. (Opp. at 26)        Even if the vacancy was

cancelled for the reason stated by Plaintiff (for which Plaintiff provides no supporting record

citation), there would be no inconsistency. Plaintiff had applied to both the Investigative Law and

Legal Training Branch and National Security Law Branch positions and was considered to be a




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better fit for the former position and thus was selected to that position. 5 (Pl. Resp. to Def. SOF ¶

15) The vacancy announcement for the National Security Law Branch position was cancelled

after that selection decision and, consequently, that cancellation (even if based on a lack of

qualified candidates) is not evidence that Plaintiff’s non-selection reflected a lack of basic

qualifications on her part. Instead, after being interviewed for both positions, Plaintiff already had

been deemed a better fit for the Investigative Law and Legal Training Branch position, which was

the reason for her selection to that position and consequent non-selection to the National Security

Law Branch position. 6 (Id.)

       Plaintiff has identified no record evidence establishing any shifting explanation for her

selection to the one position over the other. She cites to paragraphs 24, 26 and 44 of her response

to Defendant’s Statement of Facts, but, to the extent those responsive paragraphs make any

assertions, it is that “Mr. Schoolmaster lied regarding the extent of his involvement in and efforts

to soli it Ms. Anderson’s application materials.” (Pl. Resp. to Def. SOF ¶¶ 24, 26, citing pages 92-

94 of Schoolmaster deposition). Not only is that assertion belied by the cited deposition testimony

(which reflects that Mr. Schoolmaster could not recall what role, if any, he had in Ms. Anderson’s

selection process four years earlier), but it also is immaterial given Mr. Schoolmaster’s minor,

administrative role in the process.




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        Among other things, the prior Deputy General Counsel of the Investigative Law and
Litigation Branch was an agent and had recommended to Mr. Baker that he continue to have an
agent in that position. (Pl. Resp. to Def. SOF ¶ 16) Plaintiff was an agent. (Id. ¶¶ 2, 15)
6
        Mr. Baker testified that he did not consider Plaintiff to be “qualified” for the National
Security Law Branch position “in the way that [he] conceptualized the job.” (ECF No. 27-4, Baker
Dep. at 150) As reflected by his subsequent testimony, Mr. Baker was expressing that Plaintiff
was not the best fit for the needs of the National Security Law Branch position, not that she lacked
sufficient qualifications to be interviewed for the position. (Id. at 168-70)
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        Finally, Defendant does not dispute that Plaintiff was sufficiently qualified to be

interviewed for the National Security Law Branch position, but that is a distinct question from

whether she was (a) better qualified for the Investigative Law and Legal Training Branch position

(which was the basis for her selection to that position over the National Security Law Branch

position) and (b) less qualified than Ms. Anderson for the National Security Law Branch position

(Ms. Anderson’s qualifications were the basis for her selection to this position). See supra n. 6.

As to the former, Plaintiff has offered no evidence that Mr. Baker lacked an honest, good faith

belief for believing Plaintiff was better qualified for the Investigative Law and Legal Training

Branch position. Hairston v. Vance-Cooks, 773 F.3d 266, 274 (D.C. Cir. 2014) (the relevant

question in assessing whether an explanation is a pretext for discrimination is whether the

employer “‘honestly believes in the reasons it offers’”). Indeed, Plaintiff concedes that Mr. Baker

testified to that effect and offers no record evidence to call into question that testimony. (Pl. Resp.

to Def. Stat. ¶ 15)

        In support of her contention that she had “superior qualifications” than Ms. Anderson,

Plaintiff also fails to identify record evidence that supports that contention. Instead, she offers her

own conclusory opinion and otherwise refers the Court to her resume and that of Ms. Anderson

without explaining how that comparison establishes her superior qualifications. (Opp. at 27) As

already addressed in Defendant’s motion, any such comparison favors Ms. Anderson who, among

other things, already held an SES position. (ECF No. 26 at ECF pp. 20-21) Plaintiff also fails to

account for Mr. Baker’s prior experience working with Ms. Anderson, which was favorable. (Pl.

Resp. to Def. SOF ¶¶ 23, 25)

        Ultimately, Plaintiff’s bare contentions are insufficient to demonstrate a qualifications gap

“great enough to be inherently indicative of discrimination.” Adeyemi v. D.C., 525 F.3d 1222,



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1227 (D.C. Cir. 2008). At most, Plaintiff has “point[ed] to differences in qualifications that merely

indicate a ‘close call’” which “does not get [her] beyond summary judgment.” Stewart v. Ashcroft,

352 F.3d 422, 430 (D.C. Cir. 2003); see also Hamilton v. Geithner, 666 F.3d 1344, 1352 (D.C.

Cir. 2012) (“a disparity in qualifications, standing alone, can support an inference of discrimination

only when the qualifications gap is ‘great enough to be inherently indicative of discrimination’ –

that is, when the plaintiff is ‘markedly more qualified,’ ‘substantially more qualified,’ or

‘significantly better qualified’ than the successful candidate.”).

II.    Defendant Is Entitled To Summary Judgment On The “Demotion” Claim

       As established in Defendant’s motion, in late May 2015, Mr. Baker implemented a

reorganization in which the Investigative Law and Legal Training Branch was combined with the

General Law Branch to create a new, combined branch called the Investigative and General Law

Branch. (Pl. Resp. to Def. SOF ¶¶ 50 51) 7 The existing Deputy General Counsel of the General

Law Branch, Ernest Babcock, assumed the Deputy General Counsel position of the new, combined

branch. As a consequence of the merging of the two branches, Plaintiff’s Deputy General Counsel

position was eliminated and she assumed the position of Section Chief, reporting to Mr. Babcock,

although without a deduction in grade and pay. (Pl. Resp. to Def. SOF ¶¶ 38-42)

       Plaintiff’s challenge to this employment action – what she calls “demoting her from her

position as a DGC [Deputy General Counsel]” – faces significant hurdles as Plaintiff implicitly

acknowledges. As an initial matter, her discrimination claims are undermined by Mr. Baker’s

favorable treatment of her less than a year earlier in recommending her for hire. Waterhouse v.




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       Plaintiff testified that, on May 22, 2015, Mr. Baker informed her that he was reorganizing
the Office of General Counsel and that her position would be eliminated. (ECF No. 27-3,
Grzadzinski Dep. at 94)
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District of Columbia, 298 F.3d 989, 996 (D.C. Cir. 2002); Vatel v.Alliance of Auto. Mfrs., 627 F.3d

1245, 1247 (D.C. Cir. 2011).

       In addition, among the Deputy General Counsel, she was the only one in a probationary

status at the time of the reorganization. (Pl. Resp. to Def. SOF ¶ 43). Consequently, none of the

other Deputy General Counsel are comparators whose favorable treatment in not having their

positions eliminated could give rise to an inference of discrimination. George v. Leavitt, 407 F.3d

405, 415 (D.C. Cir. 2005) (recognizing that “probationary employees and permanent employees

are not similarly situated”). Finally, the individual who became Deputy General Counsel over the

new, combined branch, Mr. Babcock, was older than Plaintiff, thus negating any claim of age

discrimination.

       Lacking valid comparator evidence, and facing a record showing favorable treatment by

Mr. Baker towards women and older workers (including Plaintiff herself), Plaintiff rests her theory

of discrimination on the thinnest of reeds -- that Mr. Baker, though not biased against all women,

was biased against women with “strong personalities, including Ms. Grzadzinksi.” (Opp. at 9)

Plaintiff, however, has failed to adduce any competent evidence to support this theory.

       A. Plaintiff’s Purported Evidence Of A Discriminatory Motive Is Deficient

        Plaintiff asserts that Mr. Baker “routinely criticized women for being too ‘aggressive’

while condoning far more aggressive behavior by male employees,” but does not support this

assertion with a citation to any record evidence. See id. Indeed, the record is devoid of any

evidence of Mr. Baker criticizing any woman for being “aggressive.”

       Plaintiff’s apparent support for this assertion is a reference to a statement made by Mr.

Baker at his deposition that Plaintiff misstates when she asserts that Mr. Baker “criticized women

as ‘disagreeable, toxic.’” (Opp. at 9, citing Baker Dep. at 186). As the cited portion of the record



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reflects, Mr. Baker described one particular employee as “a difficult, disagreeable, toxic person”

during his deposition. (ECF No. 27-4, Baker Dep. at 185:22 to 186:11) He did not describe that

employee as a “toxic woman” or a “disagreeable woman”, nor did he characterize “women” as

toxic or disagreeable. (Id.)   Importantly, Plaintiff and others also considered that individual to

have a disagreeable personality, thus demonstrating that Mr. Baker’s testimony about this

individual did not reflect any gender bias. (ECF No. 27-3, Grzadzinski Dep. at 150:16 to 164) For

her part, Plaintiff testified at her deposition that she felt this individual “needed management

training or management assistance from me on how to better interact with people.” (ECF No. 27-

3, Grzadzinski Dep. at 153:18 to 153:21)

       Plaintiff’s assertion that Mr. Baker tolerated aggressive behavior by males also is

unsupported by the record. The sole example Plaintiff provides is a single incident in which Mr.

McNally threw a chair in the office. (Opp. at 11) Far from tolerating this conduct, Mr. Baker had

the matter reported to the FBI’s Inspection Division for investigation. (ECF No. 27-4, Baker Dep.

at 66:8-67:2; 182:19-183:13)

       As for Plaintiff’s assertions that Mr. Baker reacted to women and men differently in

meetings, she fails to provide a single, specific example. (Opp. at 9) Instead, she relies on vague,

generalized perceptions that fail to provide any context that would allow for an inference of

discriminatory treatment. Plaintiff testified that “I would routinely see Mr. Baker cut women off

in meetings, oftentimes skip over the women, would routinely go to a subordinate male to ask the

question as opposed to the female that was sitting directly next to him.” (ECF No. 27-3,

Grzadzinski Dep. at 56) But that generalized assertion, even if credited by the Court, does not

establish that Mr. Baker was reacting to the gender of the speaker (or any perceived

“aggressiveness” combined with gender) rather than some other factor, such as the substance of



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what was said. The other cited testimony is similarly vague and based on individual perceptions

of Mr. Baker’s “body language” and other equally ambiguous conduct or statements. (ECF No.

27-14, Bruno Dep. at 32-33, 45; ECF No. 27-38, Sabol Decl. at ECF p. 6; ECF No. 27-16, Sabol

Dep. at 13-14; ECF No. 27-20, Wiegand Dep. at 47) 8

       Such vague, subjective perceptions are not sufficient to defeat summary judgment. See,

e.g., Walden v. Patient-Centered Outcomes Research Inst., 304 F. Supp. 3d 123, 140 (D.D.C.

2018) (“Walden's ‘subjective belief’ that Stencel’s ‘body language communicated discriminatory

intent . . . is not sufficient to overcome summary judgment.’”) At most, they “can only be

speculatively attributed to discriminatory animus,” and speculation does not suffice as evidence

sufficient to withstand summary judgment. See, e.g., Beaird v. Seagate Tech., Inc., 145 F.3d 1159,

1170 (10th Cir. 1998); Eke v. CaridianBCT, Inc., 490 Fed. Appx. 156, 168 (10th Cir. 2012)

(finding the plaintiff failed to provide enough information to understand the context of any alleged

discriminatory comments or actions such that they would support an inference of discriminatory

animus based on age or gender).

       This testimony also is misplaced because Plaintiff has failed to adduce any evidence that

the elimination of her position, and resulting placement of Mr. Babock over the new, combined

branch, occurred because she was perceived as too aggressive by Mr. Baker. In this regard,

Plaintiff’s reliance on Price Waterhouse v. Hopkins, 490 U.S. 228 (1989), is misplaced. There,

the record showed the decision not to promote the plaintiff was based at least in part on evaluations

that she was too “aggressive.” See id. at 251. Here, Mr. Baker’s criticisms regarding Plaintiff’s


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        Plaintiff also cites to an EEO complaint filed by another employee. (Ex. 13 to Opp. at
GRZ_FBI003579) The cited portion of that document consists of unsworn allegations submitted
with an EEO intake form. Consequently, it is hearsay and not competent summary judgment
evidence. Greer v. Paulson, 505 F.3d 1306, 1315 (D.C. Cir. 2007) (“‘[S]heer hearsay’ . . . ‘counts
for nothing’ on summary judgment.”)

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communication style was that she did not communicate enough, not that she communicated too

forcefully. (ECF No. 26, Def. Mem. at ECF pp. 24-25; see also ECF No. 27-4, Baker Dep. at 190-

92)

       Plaintiff’s so-called “me too” evidence also is insufficient. (Opp. at 11-12)    Plaintiff has

not adduced any competent evidence of any similarly situated employee, but simply cites to

unsworn assertions made in other EEO matters involving different contexts in which Mr. Baker is

named as the responsible management official (Ex. 15 to Opp.) and a declaration by Plaintiff in

which she comments on the allegations in the EEO complaints of other employees. (ECF No. 27-

18, Grzadzinski Supp. Affid. ¶¶ 12-15) Not only is all of this inadmissible hearsay, but Plaintiff

has failed to explain how any of those individuals are comparators with respect to her claim

regarding the elimination of her position during the reorganization. 9 Burley v. Nat’l Passenger

Rail Corp., 801 F.3d 290, 301 (D.C. Cir. 2015) (for comparator evidence to be relevant, “[a]

plaintiff must . . . demonstrate that ‘all of the relevant aspects of [his] employment situation were

nearly identical to those of the [other]’ employee”).

       Plaintiff’s discussion of the allegedly more favorable treatment of Mr. Bondy also is

misplaced. (Opp. at 12-13) To the extent the allegations directed against Mr. Bondy were conduct-

based, not performance-based, they are immaterial to Plaintiff’s alleged “demotion” claim. 10 To

the extent performance based, Mr. Bondy was not a probationary employee (Pl. Resp. to Def. SOF

¶ 43) and thus was not similarly situated to Plaintiff. George, 407 F.3d at 415 (recognizing that


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      To the extent Plaintiff references deposition testimony from female employees regarding
Mr. Baker’s conduct (Opp. at 17-18), the cited testimony is deficient for the same reason.
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        Nevertheless, the record establishes that, after hearing the first allegation regarding Mr.
Bondy’s conduct, Mr. Baker counseled him, and after a third-party reported another allegation,
Mr. Baker reported the allegations to the FBI’s Inspection Division. (ECF No. 27-4, Baker Dep.
at 143:5-144:6-21)

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“probationary employees and permanent employees are not similarly situated”). In addition, the

record establishes that Mr. Baker was considering removing Mr. Bondy from his position over

performance concerns but that Mr. Bondy announced his retirement before Mr. Baker had decided

how to proceed. (ECF No. 27-4, Baker Dep. at 53:2-5, 57:19-58:9) Consequently, Mr. Baker’s

treatment of Mr. Bondy is not evidence of discriminatory animus towards women.

       Regarding alleged performance issues by Mr. McNally, who was acting Deputy General

Counsel for the National Security Law Branch before Ms. Anderson assumed that position,

Plaintiff’s allegations also fail to raise any inference of discriminatory animus. (Opp. at 13) When

Ms. Anderson assumed that role, Mr. McNally had been acting in the position for approximately

two years. (ECF No. 27-3, Grzadzinski Dep. at 190:20-191:1) Plaintiff testified at her deposition

that she believed Mr. McNally was qualified to hold the position on a permanent basis and was

treated unfairly in being passed over for the role. (ECF No. 27-3, Grzadzinski Dep. at 190:20 to

191:13) That Ms. Anderson was selected over Mr. McNally is further evidence of favorable

treatment towards women by Mr. Baker, not discrimination against them.

       In addition, believing that Mr. McNally was struggling as a manager and burned out in his

role in the National Security Law Branch (ECF No. 27-4, Baker Dep. at 60:1-9; 60:22-5), Mr.

Baker moved him to a Section Chief position in a different branch when Ms. Anderson started as

Deputy General Counsel for the National Security Law Branch. (ECF No. 27-4, Baker Dep. at

59:2-22). Again, Mr. Baker’s treatment of Mr. McNally confirms the absence of any gender bias.

       Finally, Plaintiff’s contention that Defendant’s “internal surveys” “highlight gross

disparities in women’s ability to succeed in OGC leadership” is misleading and does not create an

inference of discrimination as to her alleged “demotion.” (Opp. at 15) Plaintiff cites to statistics

in a Department of Justice Office of Inspector General Review of Gender Equity in the



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Department’s Law Enforcement Components that are from a time period after Plaintiff’s alleged

demotion and thus are irrelevant to that claim, (Pl. Ex. 20, at 10), and to information about diversity

recruitment efforts, which are also unrelated to the alleged “demotion” claim. Id. at 14. Plaintiff

also cites to a “Gender Analysis Overview,” which examined FBI workforce gender demographics

over a 12-year period and focused on specific positions and divisions, none of which was the Office

of General Counsel. (Pl. Ex. 21)

       Apart from these deficiencies, none of this “evidence” raises any inference of

discriminatory animus on the part of Mr. Baker, who recommended Plaintiff to be hired in the first

instance and supported Ms. Anderson for the National Security Law Branch position over Mr.

McNally, who had been acting in that position. (Pl. Resp. to Def. SOF ¶¶ 18, 23-24) It also has

no bearing on Plaintiff’s retort that, while Mr. Baker may not have been biased against women

generally, she was discriminated against because she was a woman with a “strong personality” as

none of the cited data includes that category.

       B. Plaintiff Has Failed To Raise An Inference To Establish Pretext

       Defendant has more than satisfied its burden to set forth a legitimate, non-discriminatory

reason for Plaintiff’s removal from the Deputy General Counsel position by citing to (1) the

decision to eliminate one of the four Deputy General Counsel positions as part of a reorganization;

(2) Plaintiff’s performance struggles in the Deputy General Counsel position as compared to Mr.

Babcock’s greater experience; and (3) the fact that she was the most junior Deputy General

Counsel at the time. (ECF No. 26, Def. Mem. at ECF pp. 24-26). While Plaintiff attempts to

dispute the Defendant’s explanations as lacking support in the record (Opp. at 16-19), Defendant

has more than met its burden of production.




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       For instance, it is undisputed that Mr. Baker had been contemplating realigning the Office

of General Counsel from almost his first day on the job—long before Plaintiff was even in the

Office of General Counsel. (ECF No. 27-4, Baker Dep. at 39-40; ECF No. 26-6, Babcock Dep. at

79; ECF No. 27-3, Grzadzinski Dep. at 94-95) Plaintiff also acknowledged that Mr. Baker had

raised performance issues with her in March 2015, within two months of her starting in the Deputy

General Counsel position, advising her at that time of his “disappointment” with her performance,

and that he had expected she would have “‘hit the ground running.’” (ECF No. 26-4, Grzadzinski

Decl. at 3). Mr. Baker, moreover, testified without contradiction in the record that he did not think

Plaintiff was succeeding as a deputy at the time he moved her to the Section Chief position. (ECF

No. 27-4, Baker Dep. at 57; ECF No. 26-2, Baker Decl. ¶¶ 7-8)) 11 And, contrary to Plaintiff’s

assertion, as a probationary SES, she was more junior than the other Deputy General Counsels,

including McNally who had been at the SES level since 2008 (Holland Decl. ¶ 4) 12 and McNally’s

replacement, Ms. Anderson, who also already was a SES. (Pl. Resp. to Def. SOF ¶¶ 25, 43; see

also ECF No. 26-3 at ECF p. 62)


11
        Plaintiff faults Mr. Baker for not being able to recall specific instances at his deposition in
April 2018 (approximately three years after the reorganization) of deficient performance by
Plaintiff that contributed to his decision to move Plaintiff to the Section Chief position. (Opp. at
17, citing ECF No. 27-4, Baker Dep. at 116-128). As explained by Mr. Baker at his deposition,
he had “synthesized” her performance issues in the detailed SES Probationary Period Assessment
that he prepared in October 2015. (Pl. Resp. to Def. SOF ¶ 44; ECF No. 26-2 and ECF pp. 7-12)
His inability three years after the fact to recall which of the examples specified in that assessment
had pre-dated the reorganization does not create an inference of pretext particularly when Plaintiff
admitted that Mr. Baker notified her in March 2015 (prior to the reorganization) that her
performance was deficient.
12
        Plaintiff’s focus on Mr. McNally ultimately is misplaced because, at the time of the
reorganization, Ms. Anderson already had been selected to take the position in which McNally had
been acting on a permanent basis. Her claim that she had seniority over Ms. Anderson (Opp. at
17) fails because Ms. Anderson already held a career SES position (ECF No. 26-3 at ECF p. 62)
whereas Plaintiff still was in her one-year probationary period. This argument also presumes,
erroneously, that this position was “open” at the time when the record establishes that it was being
filled by Ms. Anderson.
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       In an effort to show that these legitimate reasons are a pretext for discrimination, Plaintiff

argues that Defendant’s explanations for her removal are inconsistent with the record; management

officials provided “shifting, inconsistent explanations” for her removal; performance standards

were applied inconsistently; and “other evidence casts doubt on management officials’ stated

motives.” (Opp. at 19) None of these arguments has merit.

       First, Plaintiff misstates the record when she contends that any one of the four Deputy

General Counsels could have been placed in the Section Chief position when her position was

eliminated by the reorganization, reducing from four to three the number of Deputy General

Counsel positions. (Opp. at 20) That argument presumes erroneously that (a) all three Deputy

General Counsel positions were open, (b) that Plaintiff was qualified to assume all three positions,

and (c) and that one of the three other Deputy General Counsels could have been assigned to the

Section Chief position to which Plaintiff was assigned.

       As an initial matter, Ms. Anderson already had been selected for the Deputy General

Counsel National Security Law Branch position with an expected start date of mid-June 2015 (ECF

No. 26-3 at ECF pp. 19-20), and thus that position was not “open” at the time Plaintiff’s position

was eliminated in late May 2015. (ECF No. 26-2, Baker Decl. ¶ 6) And Mr. McNally, who had

been acting in that position, was reassigned to a Section Chief position in a different branch once

Ms. Anderson assumed the Deputy General Counsel National Security Law Branch position. (ECF

No. 27-4, Baker Dep. at 59:2-22)

       As to the Deputy General Counsel Litigation Branch position, which at the time was held

by Mr. Bondy, that position required substantial federal court experience (Ex. 2 to Supp. Glickson

Decl.) and Plaintiff admittedly had never litigated in federal court. (ECF No. 27-3, Grzadzinski




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Dep. at 189:1-9). 13 Mr. Bondy, moreover, already had advised Mr. Baker of his intention to retire

by the time Mr. Baker decided to eliminate one of the four Deputy General Counsel positions, thus

precluding Mr. Bondy from filling the Section Chief position. (ECF No. 26-2, Baker Decl. ¶ 6)

       The remaining two branches –Investigative Law and Legal Training Branch (led by

Plaintiff) and General Law Branch (led by Mr. Babcock) – were being combined to create the

Investigative and General Law Branch (Pl. Resp. to Def. SOF ¶¶ 50 51), which effectively made

the choice for Deputy General Counsel over the new, combined branch either Plaintiff or Mr.

Babcock. Mr. Babcock was not a probationary SES, had more experience than Plaintiff, and,

unlike her, Mr. Baker had no performance issues with him. (ECF No. 27-4, Baker Dep. at 63; ECF

No. 26-2, Baker Decl. ¶ 8; Pl. Resp. to Def. SOF ¶ 43) Consequently, Plaintiff cannot establish

that the reason for her placement in the Section Chief position was a pretext for discrimination.

       Plaintiff also contends that Mr. Baker’s criticism of her opinion that Chief Division

Counsels did not need to hold active bar licenses could not have been a factor in her demotion

because she had not been asked to render a formal “legal opinion” prior to the reorganization.

(Opp. at 21) But that misstates the issue by focusing the question erroneously around whether

Plaintiff ever prepared a formal memorandum setting forth her opinion.        Although Plaintiff’s

position on this issue was not provided in a formal memorandum, it is undisputed that she

presented her opinion to Mr. Baker on that issue.

       Plaintiff admitted at her deposition that Mr. Baker had solicited Plaintiff’s opinion on the

issue and that, in response, she told him that she did not belief Chief Division Counsels needed to



13
        When Plaintiff asserts that her performance “far exceeded that of two other male employees
serving as DGCs” and suggests those two individuals should have been placed in the Section Chief
position instead of her (Opp. at 20), she appears to be referring to Mr. McNally and Mr. Bondy.
Because Ms. Anderson was taking over the National Security Law Branch from Mr. McNally,
Plaintiff’s focus on him is misplaced for reasons already addressed.
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hold active bar licenses and provided her reasoning for taking that position. (ECF No. 27-3,

Grzadzinski Dep. at 90-93) Indeed, Plaintiff acknowledges that this was not an offhand opinion

on her part when, in her opposition, she explains her reasoning and why she believed the criticism

of her analysis as “flat out wrong” was unfair. (Opp. at 5 n.2, and 21-22)             Plaintiff also

acknowledged at her deposition that Mr. Baker was dissatisfied with her opinion on the bar license

issue and “went right past me” and had another attorney, Catherine Chen, do the formal analysis.

(ECF No. 27-3, Grzadzinski Dep. at 94) Thus, the record establishes that Plaintiff never prepared

a formal memorandum on this issue because in discussions preceding that step she had advocated

against mandatory active bar licenses based on reasoning that Mr. Baker considered to be “below

the bar.” (ECF No. 26-2 at ECF p. 11)

       The record evidence cited by Plaintiff does not dispute any of these facts, but simply

confirms that Mr. Baker had Ms. Chen do the formal legal analysis. For instance, Plaintiff cites to

Exhibit 34 to her opposition as evidence that Ms. Grzadzinski did not possess the legal

memorandum on the bar license issue and thus could not have been the one to draft that

memorandum. (Opp. at 4 n.1) But as that email makes clear, the legal memorandum she is

referring to is the one that recommended that active bar membership be mandatory, which had

been prepared by Catherine Chen and another individual after Plaintiff had offered her misguided

opinion on the issue. (Ex. 34 to Opp.; Opp. at 4 n. 1).

       Plaintiff also misstates the record when she contends that the bar license issue did not arise

until June 2015, after her alleged demotion. (Opp. at 22) As the record reflects, that issue was

being actively addressed by April 2015. (Ex. 34 to Opp. at GRZ FBI004670 to 4676) Moreover,

the email exchange Plaintiff cites from June 2015 (Ex. 23 to Opp.) reflects inquiries from outside

of the Office of General Counsel after word had circulated that a decision had been made to make



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active bar licenses mandatory. For instance, an email in that chain from an individual from outside

the Office of General Counsel was sent to Plaintiff on June 24, 2015, for her “consideration and

awareness” expressing concerns from “folks across the bureau” about the change in policy. (Ex.

23 to Opp. at GRZ_FBI000493; Supp. Glickson Decl. ¶ 4) Thus, that email does not reflect that

the bar license issue arose in June 2015, but that the Office of General Counsel had reached a

decision to mandate active bar licenses by that time, confirming that the issue had been under

discussion within OGC well before that date.

       Plaintiff’s assertion that her position on the bar license issue could not have been incorrect

because it was the way things had always been done (Opp. at 21) is both illogical and evidence of

her deficiencies as a senior executive who is expected to do more than merely propose doing things

the way they have always been done without regard to whether such position is legally defensible.

Mr. Baker was “alarmed” by Plaintiff’s position on this issue. (ECF No. 27-4, Baker Dep. at

195:21-196:4) He found Plaintiff’s legal analysis on this issue to have “made no sense whatsoever

and was not well supported by any reasonable type of legal analysis that I could think of.” (Id. at

195:21-196:6) Mr. Baker thought Plaintiff had preconceived views on the topic and did not

approach it with an open mind as a result, “her legal analysis on the matter was tendentious, below

the bar, and therefore not particularly helpful.” (ECF No. 26-2 at ECF p. 11)

       Second, Plaintiff’s claim that Mr. Baker’s explanation for the reorganization and his

decision to “demote” Plaintiff had “shifted continually” also is without record support. (Opp. at

19-20) Plaintiff asserts Mr. Baker testified that Plaintiff’s “success in her position was a ‘number

one’ reason for conducting the reorganization in this manner.” (Opp. at 20) But Mr. Baker said

no such thing. Rather, in response to a question as to why he removed Plaintiff from the Deputy

General Counsel position—not why he reorganized OGC as Plaintiff erroneously contends—Mr.



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Baker stated: “I did not think that Marcy was succeeding in her position as a deputy at that point

in time. That was number one.” (ECF No. 27-4, Baker Dep. at 57:4-12) That is consistent with

testimony that the reorganization itself was not based on anyone’s performance but rather the needs

of the office following a thorough operational review. (Id. at 39-41; ECF No. 27-16, Sabol Dep.

at 25:5-13) In fact, the record citations in Plaintiff’s opposition support both (1) that Mr. Baker

has never stated that the reorganization of OGC was due to Plaintiff’s performance (ECF No. 27-

16, Sabol Dep. at 25:5-13; ECF No. 27-3, Grzadzinski Dep. at 96:12-17; and ECF No. 27-26,

Babcock Dep. at 81:1-13, 83:8-84:5) and (2) that Mr. Baker has consistently stated that his decision

to move Plaintiff to the Section Chief position was due to her performance and junior status, as

well as the elimination of one of the DGC positions. (ECF No. 27-4, Baker Dep. at 57:5-2, 90:21-

92:10).

          Third, as to Plaintiff’s assertion that performance standards were applied differently, she

has failed to identify any relevant comparator. Among the Deputy General Counsel – which is

the group of potentially applicable comparators – she was the only one in a probationary period

and thus was not similarly situated on that basis. Nevertheless, as already addressed, to the extent

any of the other Deputy General Counsel were considered by Mr. Baker to have performance

issues, Mr. Baker addressed them. In the case of Mr. McNally, he moved him to a Section Chief

in a different branch. As to Mr. Bondy, Mr. Baker was considering how to proceed when Mr.

Bondy notified Mr. Baker of his intention to retire.        Accordingly, Plaintiff’s allegation of a

disparity in the application of performance standards lacks record support and fails to establish

pretext.

          Finally, as to other alleged evidence of pretext cited by Plaintiff, Defendant already has

addressed those assertions in the discussion above.



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III.   Defendant Is Entitled To Summary Judgment On The SES Removal Claim

       Plaintiff acknowledges in her opposition that her basis for contending that her removal

from the SES was discriminatory is largely based on the same evidence and argument on which

she contends her alleged “demotion” to a Section Chief position was discriminatory. (Opp. at 27-

30) Accordingly, Defendant incorporates the above discussion as its response to those arguments.

       Plaintiff also misunderstands Defendant’s summary judgment argument when she

contends erroneously that Defendant had argued that her probationary status precluded her from

establishing a prima facie case. (Opp. at 28) That is incorrect. Defendant’s argument was not

that her probationary status precluded her from establishing a prima facie case, but that her so-

called comparator evidence failed to raise an inference of pretext because she was the only Deputy

General Counsel in a probationary status. George, 407 F.3d at 415 (recognizing that “probationary

employees and permanent employees are not similarly situated”).

       Plaintiff does not meaningfully respond to that argument, beyond asserting without any

competent evidence that Ms. Grzadzinski’s probationary status was “irrelevant to the evaluation”

that she received. (Opp. at 28) Equally baseless is her attempt to call into question Mr. Baker’s

separate evaluation of her performance as an SES (ECF No. 26-3 at ECF p. 42) by speculating that

Mr. Babcock’s separately issued performance review somehow did not reflect Mr. Babcock’s

actual assessment of her performance. (Opp. at 28) Not only did Mr. Babcock testify at his

deposition about aspects of Plaintiff’s poor performance (e.g., ECF No. 27-26, Babcock Dep. at

48 ), but Plaintiff was unsuccessful in her internal appeal to have Mr. Babcock’s “minimally

successful” rating upgraded. (Pl. Resp. to Def. SOF ¶ 50)

       As to Mr. Baker’s separate review, that consisted of a six-page performance assessment

detailing numerous specific examples of performance deficiencies. (ECF No. 26-2 at ECF pp. 7-



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12) Plaintiff’s assertion that Defendant failed to articulate a “specific basis” for her removal from

the SES cannot be reconciled with that detailed assessment. As to Plaintiff’s contention that Mr.

Baker criticized her, and not Mr. Babcock, for failing to keep him informed of the plans for the

2015 Chief Division Counsel conference, that is contradicted by record evidence showing Mr.

Baker also expressed disappointment to Mr. Babcock about his role in this failing. (Ex. 1 to Supp.

Glickson Decl.) Plaintiff, however, was responsible for planning the conference (not Mr.

Babcock), does not dispute that she had opportunities to brief Mr. Baker but failed to do so, and

does not dispute that she intentionally excluded Mr. Baker from being a speaker at the conference.

(ECF No. 26-2 at ECF pp. 9-10; ECF No. 27-3, Grzadzinski Dep. at 111).

       That failure, moreover, was a concrete example supporting Mr. Baker’s criticism of

Plaintiff’s lack of an organizational vision and deficient leadership skills since, in Mr. Baker’s

view, it was detrimental to the effort to “maintain[] an effective relationship between the CDC

[Chief Division Counsel] community and OGC community [that was] critical to the Bureau’s

success.” (ECF No. 26-2 at ECF pp. 9-10) Mr. Baker’s written assessment, moreover, is replete

with other examples supporting his overall criticism of Plaintiff’s performance and precluding any

characterization of the reasons for her removal as unduly subjective. It is such specific examples

that “ground[] the[] subjective assessment in more objective facts” and that distinguishes a

subjective rationale readily compatible with a grant of summary judgment from one that may

require more scrutiny. See Hamilton, 666 F.3d at 1356.

       Finally, Plaintiff asserts as evidence of pretext the fact that, of the 139 employees who

“began a probationary period in the SES from January 1, 2013-December 31, 2015—only Ms.

Grzadzinski and one other employee did not complete the SES probationary period.” (Opp. at 30)

That chart, however, does not reflect discrimination but instead shows that both males and females



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of various ages successfully completed the SES probationary period. Moreover, the “other

employee” besides Plaintiff who did not successfully complete the SES probationary period was

male, further undermining the relevance of this data to Plaintiff’s claims. (Pl. Ex. 33, entry number

13)

                                         CONCLUSION

        For the reasons set forth above, as well as the reasons set forth in Defendant’s Motion for

Summary Judgment, Defendant respectfully requests that summary judgment be entered in its

favor on all of Plaintiff’s claims.

                                                Respectfully submitted,


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